          Case 8:19-md-02879-PWG Document 683 Filed 11/06/20 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                    Southern Division

 IN RE: MARRIOTT                                *
 INTERNATIONAL, INC.
 CUSTOMER DATA SECURITY                         *
 BREACH LITIGATION
                                                *
                                                      MDL No.: 19-md-2879
 THIS DOCUMENT RELATES TO                       *
 CASE NO. 8:19-CV-0654                                HON. PAUL W. GRIMM
                                                *
 *    *      *     *     *    *     *    *             *     *    *     *     *     *     *    *

 DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND
   TO THE CITY’S OBJECTIONS TO SPECIAL MASTER’S OCTOBER 14, 2020
                   REPORT AND RECOMMENDATION

       Defendants Marriott International, Inc. and Starwood Hotels & Resorts Worldwide, LLC

(collectively, “Marriott”) respectfully request that the Court grant a 14-day extension of time for

Marriott to respond to the city of Chicago’s objections to the Special Master’s October 14, 2020

Report and Recommendation. In support of its Motion, Marriott states the following:

       1.        On October 14, 2020, the Special Master issued a Report and Recommendation

addressing discovery disputes between the city and Marriott. (ECF No. 663.)

       2.        Pursuant to the Stipulated Order Regarding Discovery-Dispute Protocol

(“Stipulated Order”) (ECF No. 580), the city’s objections were due 14 days after the filing of the

Special Master’s report—October 28, 2020.

       3.        On October 27, 2020, the Court granted the city’s unopposed motion for a 7-day

extension of time to file its objections. (ECF Nos. 670, 673.)

       4.        The city filed its objections on November 4, 2020. (ECF No. 680.) Pursuant to

the Stipulated Order, Marriott’s response is due November 18, 2020.
        Case 8:19-md-02879-PWG Document 683 Filed 11/06/20 Page 2 of 3



       5.       Marriott requests a 14-day extension of the deadline to respond to no later than

December 2, 2020. See Fed. R. Civ. P. 6(b). Pursuant to L.R. 105.9, Marriott conferred with

and obtained the city’s consent to the requested extension.

       6.      Good cause exists for this request. Marriott’s counsel is currently attending to

ongoing discovery obligations in this and other tracks, including preparing for depositions. This

extension will allow Marriott’s counsel adequate time to prepare its response and will not

prejudice the city.


 Date: November 6, 2020                     /s/ Daniel R. Warren
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                                            Government Track Defendants’ Co-Lead Counsel




                                                2
       Case 8:19-md-02879-PWG Document 683 Filed 11/06/20 Page 3 of 3



                               CERTIFICATE OF SERVICE

       I hereby certify that on November 6, 2020, the foregoing was served on the city of

Chicago’s counsel, Edelson PC, via electronic mail.



                                            /s/ Daniel R. Warren
                                            One of the Government Defendants’ Co-Lead
                                            Counsel
